          Case 5:16-cv-00873-C Document 16 Filed 03/20/17 Page 1 of 2



                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

1.     TIMOTHY HINES,                              )
                                                   )
                     Plaintiff,                    )
v.                                                 )      CIV-16-873-C
                                                   )
1.     LOWE’S HOME CENTERS, LLC,                   )
                                                   )      JURY TRIAL DEMANDED
                     Defendant.                    )      ATTORNEY LIEN CLAIMED

            JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Rule 41 (a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the Plaintiff,

Timothy Hines, hereby stipulates with the Defendant, Lowe’s Home Centers, LLC, that his

claims in the above styled and numbered action shall be dismissed with prejudice. The

parties shall bear their own costs and attorney fees.

       RESPECTFULLY SUBMITTED THIS 20th DAY OF MARCH, 2017.

                                                   s/ Shannon C. Haupt
                                                   Jana B. Leonard, OBA #17844
                                                   Shannon C. Haupt, OBA #18922
                                                   LEONARD & ASSOCIATES, P.L.L.C.
                                                   8265 S. Walker
                                                   Oklahoma City, OK 73139
                                                   Telephone: 405-239-3800
                                                   Facsimile: 405-239-3801
                                                   leonardjb@leonardlaw.net
                                                   haupts@leonardlaw.net
                                                   johnstonlw@leonardlaw.net
                                                   Counsel for Plaintiff




                                               1
Case 5:16-cv-00873-C Document 16 Filed 03/20/17 Page 2 of 2



                                  s/Mary P. Snyder
                                 (Signed with permission)
                                 Adam W. Childers, OBA #18673
                                 Mary P. Snyder, OBA # 31427
                                 CROWE & DUNLEVY
                                 A Professional Corporation
                                 Braniff Building
                                 324 N. Robinson Ave, Suite 100
                                 Oklahoma City, Oklahoma 73102-8273
                                 Tele: (405) 235-7700 Fax: (405) 239-6651
                                 adam.childers@crowedunlevy.com
                                 mary.snyder@crowedunlevy.com
                                 Attorneys for Defendant




                             2
